         Case 3:22-cv-03131-JCS Document 95-1 Filed 12/20/23 Page 1 of 19



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                                 UNITED STATES DISTRICT COURT
15                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
16                                  SAN FRANCISCO DIVISION

17
     Brayden STARK, Judd OOSTYEN,                      Case No. 3:22-cv-03131-JCS
18   Kevin BLACK, and Maryann OWENS,
     individually and on behalf of all others
19   similarly situated,                               AMICUS CURIAE BRIEF OF
                                                       ELECTRONIC FRONTIER
20                                       Plaintiffs,   FOUNDATION, CENTER FOR
                                                       DEMOCRACY & TECHNOLOGY,
21                            v.                       THE AMERICAN CIVIL
     PATREON, INC.,                                    LIBERTIES UNION OF
22                                                     NORTHERN CALIFORNIA, AND
                                       Defendants.     THE AMERICAN CIVIL
23                                                     LIBERTIES UNION IN SUPPORT
                                                       OF THE VIDEO PRIVACY
24                                                     PROTECTION ACT’S FACIAL
                                                       CONSTITUTIONALITY
25
                                                       Date: March 15, 2024
26                                                     Time: 9:30 a.m.
                                                       Judge: Hon. Joseph C. Spero
27

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     CASE NO. 3:22-CV-03131-JCS                                     AMICUS BRIEF OF EFF, CDT, & ACLU
       Case 3:22-cv-03131-JCS Document 95-1 Filed 12/20/23 Page 2 of 19



 1                                    TABLE OF CONTENTS
      TABLE OF CONTENTS ................................................................................................................. i
 2
      TABLE OF AUTHORITIES ........................................................................................................... ii
 3
      INTRODUCTION ........................................................................................................................... 1
 4
      ARGUMENT .................................................................................................................................. 2
 5
              I.        The VPPA Directly Advances The Government’s Substantial And
 6                      Compelling Interest In Protecting The Privacy And Free Expression
                        Of Video Viewers. ...................................................................................................... 2
 7
                        A.         The VPPA Supports Video Viewers’ Free Expression. ................................. 2
 8
                                   1.         Video Has Become A Primary Means By Which Internet Users
 9                                            Consume News, Commentary, And Art. ............................................ 3
10                                 2.         The VPPA Advances The First Amendment Right To Receive
                                              Information. ........................................................................................ 3
11
                                   3.         The VPPA Advances The First Amendment Right To Privacy
12                                            In One’s Consumption Of Media. ...................................................... 4
13                      B.         The VPPA Protects Video Viewers’ Privacy Rights. ..................................... 6
14                                 1.         The Government’s Interest In Consumer Data Privacy Is
                                              Substantial And Compelling............................................................... 6
15
                                   2.         The Government’s Interest In Video Privacy Is Particularly
16                                            Compelling Because The Data Is So Revealing. ................................ 6
17                      C.         Privacy And Speech Interests Have Special Significance When
                                   They Protect Against Disclosure To The Government. ................................. 8
18
              II.       The VPPA’s Plainly Legitimate Sweep Renders Facial Invalidation
19                      Inappropriate............................................................................................................... 8
20                      A.         The Language And Scope Of The VPPA Reflect The Law’s Focus
                                   On Regulating Commercial Activity .............................................................. 9
21
                        B.         The Vast Majority Of VPPA Applications Fit Squarely Within The
22                                 Scope Of Constitutional Privacy Laws......................................................... 10
23            III.      Any Unconstitutional VPPA Applications Are Best Addressed As Applied........... 11
24    CONCLUSION ............................................................................................................................. 12
25

26
27

28

     CASE NO. 3:22-CV-03131-JCS                                             i                   AMICUS BRIEF OF EFF, CDT, & ACLU
         Case 3:22-cv-03131-JCS Document 95-1 Filed 12/20/23 Page 3 of 19


                                                      TABLE OF AUTHORITIES
 1
     Cases
 2
     ACLU v. Clearview AI, Inc.,
 3     No. 20 CH 4353, 2021 WL 4164452 (Ill. Cir. Ct. Aug. 27, 2021) ................................................ 6

 4   Amazon.com LLC v. Lay,
       758 F. Supp. 2d 1154 (W.D. Wash. 2010) ..................................................................................... 8
 5
     Bartnicki v. Vopper,
 6     532 U.S. 514 (2001) ....................................................................................................... 3, 4, 11, 12

 7   Board of Education v. Pico,
       457 U.S. 853 (1982) ................................................................................................................... 2, 5
 8
     Boelter v. Advance Mag. Publishers Inc.,
 9     210 F. Supp. 3d 579 (S.D.N.Y. 2016) ............................................................................................ 6

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       192 F. Supp. 3d 427 (S.D.N.Y. 2016) ............................................................................................ 6
11
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       413 U.S. 601 (1973) ....................................................................................................................... 1
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15     138 S. Ct. 2206 (2018) ................................................................................................................... 7

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       472 U.S. 749 (1985) ................................................................................................................. 9, 10
20
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25   In re Grand Jury Subpoena to Amazon.com Dated Aug. 7, 2006,
        246 F.R.D. 570 (W.D. Wis. 2007) ................................................................................................. 5
26
     Judge v. Saltz Plastic Surgery, P.C.,
27     367 P.3d 1006 (Utah 2016) .......................................................................................................... 10

28

     CASE NO. 3:22-CV-03131-JCS                                             ii                   AMICUS BRIEF OF EFF, CDT, & ACLU
         Case 3:22-cv-03131-JCS Document 95-1 Filed 12/20/23 Page 4 of 19


     King v. Gen. Info. Servs., Inc.,
 1     903 F. Supp. 2d 303 (E.D. Pa. 2012) .............................................................................................. 6
 2   Lamont v. Postmaster General,
       381 U.S. 301 (1965) ................................................................................................................... 4, 5
 3
     McIntyre v. Ohio Elections Commn.,
 4    514 U.S. 334 (1995) ....................................................................................................................... 4
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       357 U.S. 449 (1958) ....................................................................................................................... 4
 6
     Osborne v. Ohio,
 7     495 U.S. 103 (1990) ....................................................................................................................... 8
 8   People v. Seymour,
       536 P.3d 1260 (Colo. 2023) ........................................................................................................... 5
 9
     Reuber v. Food Chem. News, Inc.,
10     925 F.2d 703 (4th Cir. 1991) ........................................................................................................ 10
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        573 U.S. 373 (2014) ....................................................................................................................... 7
12
     Shulman v. Group W Productions, Inc.,
13     18 Cal.4th 200 (Cal. 1998) ..................................................................................................... 10, 12
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       443 U.S. 97 (1979) ....................................................................................................................... 12
15
     Snyder v. Phelps,
16     526 U.S. 443 (2011) ..................................................................................................................... 10
17   Sorrell v. IMS Health Inc.,
       564 U.S. 552 (2011) ..................................................................................................................... 10
18
     Stanley v. Georgia,
19     394 U.S. 557 (1969) ............................................................................................................... 3, 4, 8
20   Stark v. Patreon, Inc.,
       656 F. Supp. 3d 1018 (N.D. Cal. 2023) ...................................................................................... 2, 9
21
     Tattered Cover, Inc. v. City of Thornton,
22     44 P.3d 1044 (Colo. 2002) ............................................................................................................. 5
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       555 F.3d 996 (D.C. Cir. 2009) ....................................................................................................... 6
24
     Trans Union Corp. v. FTC,
25     245 F.3d 809 (D.C. Cir. 2001) ....................................................................................................... 6
26   Trans Union LLC v. F.T.C.,
       295 F.3d 42 (D.C. Cir. 2002) ......................................................................................................... 6
27

28

     CASE NO. 3:22-CV-03131-JCS                                              iii                  AMICUS BRIEF OF EFF, CDT, & ACLU
         Case 3:22-cv-03131-JCS Document 95-1 Filed 12/20/23 Page 5 of 19


     Turizo v. Subway Franchisee Advert. Fund Tr. Ltd.,
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 2   U.S. v. Stevens,
       559 U.S. 460 (2010) ....................................................................................................................... 1
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 4     529 U.S. 803 (2000) ....................................................................................................................... 2
 5   United States v. Rumely,
       345 U.S. 41 (1953) ..................................................................................................................... 5, 8
 6
     Zurcher v. Stanford Daily,
 7     436 U.S. 547 (1978) ................................................................................................................... 5, 8
 8   Statutes
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19
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20
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21     VPNMentor .................................................................................................................................... 8
22   S. Report. 100-599, 100th Cong., 2d Session 7 (Oct. 21, 1988) ........................................................ 7
23   Second Restatement of Torts § 652 .................................................................................................. 10
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       on the Video and Library Privacy Protection Act of 1988 (Aug. 3, 1988) .................................... 7
25
     Testimony, Vans Stevenson, Video Software Dealers’ Association,
26     Joint Hearing on the Video and Library Privacy Protection Act of 1988 (Aug. 3, 1988) ............ 11
27

28

     CASE NO. 3:22-CV-03131-JCS                                               iv                   AMICUS BRIEF OF EFF, CDT, & ACLU
         Case 3:22-cv-03131-JCS Document 95-1 Filed 12/20/23 Page 6 of 19



 1   Constitutional Provisions
 2   U.S. Const. Am. I ...................................................................................................................... passim
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     CASE NO. 3:22-CV-03131-JCS                                             v                    AMICUS BRIEF OF EFF, CDT, & ACLU
       Case 3:22-cv-03131-JCS Document 95-1 Filed 12/20/23 Page 7 of 19



 1                                            INTRODUCTION

 2          Striking down the Video Privacy Protection Act (“VPPA”) would put the First Amendment

 3   interests of millions of Americans at risk. Given the ubiquity of online video, the medium has

 4   become a dominant way for Americans to receive news, art, entertainment, and more. Records of a

 5   person’s video search and watch history are both comprehensive and revealing. Thirty-five years

 6   after Congress enacted the VPPA’s interrelated protections for privacy and free expression, the law

 7   remains essential and constitutional. Video viewers’ First Amendment interests predominate here,

 8   not those of video service providers. The VPPA provides Americans with critical, private space to

 9   view expressive material, develop their own views, and to do so free from unwarranted corporate

10   and government intrusion. That breathing room is often a catalyst for people’s free expression.

11          Patreon’s overbreadth attack thus lacks merit. The VPPA focuses its restrictions on

12   commercial actors engaged primarily in commercial speech. The statute’s “plainly legitimate

13   sweep” protects the millions of Americans who watch videos online, and there are not “a

14   substantial number” of unconstitutional applications. U.S. v. Stevens, 559 U.S. 460, 473 (2010).

15   The overbreadth doctrine’s primary concern is that a “statute’s very existence may cause others not

16   before the court to refrain from constitutionally protected speech or expression.” Broadrick v.

17   Oklahoma, 413 U.S. 601, 612 (1973). Here, the opposite is true: the VPPA advances the First

18   Amendment interests of millions of video viewers who are not before the Court, rather than

19   chilling them. To the extent the Court believes it is necessary to address video providers’ First

20   Amendment rights in the rare situation when disclosure of viewing history is a matter of public

21   concern, it should hold that as-applied challenges provide robust First Amendment protections.

22          Indeed, the overwhelming majority of the VPPA’s applications are constitutional. The

23   VPPA prohibits entities that offer videos to consumers from disclosing a person’s viewing habits—

24   which generally are not any matter of public concern—absent the person’s written consent or a

25   valid statutory exception. The VPPA is subject to and passes intermediate scrutiny. Like many

26   privacy laws that limit a providers’ disclosure of personal data obtained through their provision of

27   services, the VPPA promotes both consumer privacy and free expression.

28

     CASE NO. 3:22-CV-03131-JCS                         1              AMICUS BRIEF OF EFF, CDT, & ACLU
          Case 3:22-cv-03131-JCS Document 95-1 Filed 12/20/23 Page 8 of 19



 1           This Court has already explained how the intermediate-scrutiny test applies when the VPPA
 2   limits commercial speech. Stark v. Patreon, Inc., 656 F. Supp. 3d 1018, 1027, 1032–34 (N.D. Cal.
 3   2023). Amici do not repeat that analysis. Instead, this brief focuses on the issues left open by this
 4   Court: the VPPA’s constitutional applications relative to any potentially unconstitutional
 5   applications. Id. at 1037–39. The scope of the VPPA’s constitutional applications is vast. It
 6   regulates information that video service providers obtain solely through the course of a commercial
 7   transaction or exchange, where the government has a compelling interest in protecting the privacy
 8   of video viewers, and the free speech enabled by this privacy. And the circumstances in which a
 9   video service provider’s First Amendment interests in disclosing viewing data could overcome the
10   privacy interests of users will be vanishingly small. Even assuming that, in violation of the VPPA,
11   video providers may sometimes have a right to disclose a person’s viewing history on a matter of
12   public concern, existing First Amendment defenses dispel fears that the statute impermissibly chills
13   providers’ speech. The Court does not need to decide when as-applied challenges to the VPPA are
14   subject to strict or intermediate scrutiny because that issue can be resolved on a case-by-case basis.
15                                               ARGUMENT
16   I.      The VPPA Directly Advances The Government’s Substantial And Compelling Interest
             In Protecting The Privacy And Free Expression Of Video Viewers.
17
             A.     The VPPA Supports Video Viewers’ Free Expression.
18
             The First Amendment interests of all Americans who view videos online must be central in
19
     this facial challenge to the VPPA. The First Amendment protects internet users’ rights to receive
20
     information and to freely associate with others. The right to receive information is “a necessary
21
     predicate to the recipient’s meaningful exercise of his own rights of speech, press, and political
22
     freedom.” Board of Education v. Pico, 457 U.S. 853, 867 (1982). It is through receiving others’
23
     speech that “our convictions and beliefs are influenced, expressed, and tested” so that we can
24
     “bring those beliefs to bear on Government and on society.” United States v. Playboy Ent. Grp.,
25
     Inc., 529 U.S. 803, 817 (2000). “In a democratic society privacy of communication is essential if
26
     citizens are to think and act creatively and constructively. Fear or suspicion that one’s speech is
27
     being monitored by a stranger . . . can have a seriously inhibiting effect upon the willingness to
28

     CASE NO. 3:22-CV-03131-JCS                          2              AMICUS BRIEF OF EFF, CDT, & ACLU
       Case 3:22-cv-03131-JCS Document 95-1 Filed 12/20/23 Page 9 of 19



 1   voice critical and constructive ideas.” Bartnicki v. Vopper, 532 U.S. 514, 533 (2001).
 2          Thus, the government’s interest in enabling people to exercise their free speech rights is
 3   compelling, and it is furthered by the VPPA. By protecting against unknown and nonconsensual
 4   disclosure of people’s private video viewing habits, the VPPA enables their free expression to
 5   flourish. Otherwise, their receipt of a variety of video content, and any subsequent expression
 6   enabled by that information, would be chilled.
 7                  1.     Video Has Become A Primary Means By Which Internet Users
                           Consume News, Commentary, And Art.
 8

 9          Hundreds of millions of people watch videos online through subscription and free services

10   that offer a diverse range of content, including films, news reporting, and commentary. Major

11   streaming services such as Netflix have hundreds of millions of subscribers who watch movies,

12   television shows, and documentaries.1 An estimated 83 percent of U.S. consumers were subscribed

13   to a streaming service in 2023, a 10 percent increase since 2018.2 More than 70 percent of

14   Americans watch videos on YouTube, with a quarter of adults using the site to get their news. 3
                    2.     The VPPA Advances The First Amendment Right To Receive
15
                           Information.
16
            Americans’ freedom to watch the vast amount of online video content is grounded in the
17
     First Amendment’s protections for receiving information. This right to watch visual media in
18
     private “is fundamental to our free society.” Stanley v. Georgia, 394 U.S. 557, 564 (1969).
19
            Privacy can be key to ensuring that individuals feel free to exercise their First Amendment
20
     1 See Rachel Moskowitz and Kaleb A. Brown, Celebrate National Streaming Day with the most
21
     popular streaming services, USA Today (May 19, 2023),
22   https://www.usatoday.com/story/tech/reviewed/2023/05/19/national-streaming-day-most-popular-
     streaming-services-ranked-netflix-disney/70235316007/.
23   2 Julia Stoll, Subscription video-on-demand user shares in the U.S. 2015-2023, Statista (Sept. 7,

24   2023). https://www.statista.com/statistics/318778/subscription-based-video-streaming-services-
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25   3 Galen Stocking, Patrick Van Kessel, Michael Barthel, Katerina Eva Matsa and Maya Khuzame,

26   Digital News Landscape: Many Americans Get News on YouTube, Where News Organizations and
     Independent Producers Thrive Side by Side, Pew Rsch. Ctr. (Sept. 28, 2020),
27   https://www.pewresearch.org/journalism/2020/09/28/youtube-news-consumers-about-as-likely-to-
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28

     CASE NO. 3:22-CV-03131-JCS                        3              AMICUS BRIEF OF EFF, CDT, & ACLU
       Case 3:22-cv-03131-JCS Document 95-1 Filed 12/20/23 Page 10 of 19



 1   right to receive information. See Lamont v. Postmaster General, 381 U.S. 301, 305–07 (1965); see
 2   also Stanley, 394 U.S. at 565 (First Amendment protects “the right to be free from state inquiry
 3   into the contents of [a person’s] library” and “private thoughts”). The First Amendment protects
 4   many other private interactions, which all are advanced by private receipt of information,
 5   including: confidential expressive association, NAACP v. Alabama, 357 U.S. 449, 460 (1958);
 6   anonymous speech, McIntyre v. Ohio Elections Commn., 514 U.S. 334, 357 (1995); private
 7   conversation, Bartnicki, 532 U.S. at 532–33; and news gathering from undisclosed sources,
 8   Branzburg v. Hayes, 408 U.S. 665, 709–10 (1972) (Powell, J., concurring).
 9          Privacy may be most obviously necessary when it protects against unwarranted disclosure
10   to the government, but similar concerns justify laws that ensure privacy from private actors as well.
11   People using video services would be chilled from viewing content—and being inspired by it—if
12   they knew services were in the business of freely disclosing their viewing histories. Privacy thus
13   shields “the imagination of the human mind” from corporate and government surveillance. Neil
14   Richards, Intellectual Privacy, 87 Texas L. Rev. 387, 403–04 (2009). The imagination is the
15   “engine of free expression,” that powers democratic self-governance. Id.
16                  3.      The VPPA Advances The First Amendment Right To Privacy In One’s
                            Consumption Of Media.
17

18          The VPPA’s statutory protections advance video viewers’ constitutional rights because

19   disclosing details about the videos people watch infringes upon their First Amendment right to

20   receive information. While First and Fourth Amendment jurisprudence protects people only from

21   governmental intrusions, private intrusions raise many of the same hazards. For example, in many

22   cases where a business collects or discloses personal data, the chilling effect on users increases—

23   due to the threat of misuse, breach, and police seizure. In addition, the knowledge that one’s

24   personal viewing habits could be disclosed publicly (even by a private actor) is chilling. Thus,

25   Congress properly codified protection against both types of intrusions when it enacted the VPPA.

26   The U.S. Supreme Court has expressed special concern for attempts to discover people’s interest in

27   specific written or visual material. See Stanley, 394 U.S. at 565. Searches of places such as

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     CASE NO. 3:22-CV-03131-JCS                         4             AMICUS BRIEF OF EFF, CDT, & ACLU
       Case 3:22-cv-03131-JCS Document 95-1 Filed 12/20/23 Page 11 of 19



 1   bookstores and libraries that allow people to look for and access reading material are especially
 2   disfavored. “Once the government can demand of a publisher the names of the purchasers of his
 3   publications, . . . [f]ear of criticism goes with every person into the bookstall.” United States v.
 4   Rumely, 345 U.S. 41, 57 (1953) (Douglas, J., concurring).
 5           Recognizing this, Colorado has expressed special concern for reader and user privacy and
 6   anonymity. The Colorado Supreme Court has held that readers are entitled to anonymity in
 7   requesting information, “because of the chilling effects that can result from disclosure of identity.”
 8   Tattered Cover, Inc. v. City of Thornton, 44 P.3d 1044, 1052 (Colo. 2002). That court recently
 9   ruled that demands to disclose internet users’ web search history implicate the same concerns:
10   “online search history . . . could reveal intimate details about an individual’s private life.” People v.
11   Seymour, 536 P.3d 1260, 1271 (Colo. 2023).
12          Courts closely scrutinize demands to disclose a person’s consumption of media because
13   they permit “the government to peek into the reading habits of specific individuals without their
14   prior knowledge or permission.” In re Grand Jury Subpoena to Amazon.com Dated Aug. 7, 2006,
15   246 F.R.D. 570, 572 (W.D. Wis. 2007). These First Amendment concerns animate the Fourth
16   Amendment’s search-and-seizure requirement that warrants implicating expressive materials must
17   be executed with “scrupulous exactitude.” Zurcher v. Stanford Daily, 436 U.S. 547, 564–65 (1978).
18          The VPPA buttresses the First Amendment’s protections by giving video viewers solace,
19   knowing that what they choose to watch is protected against unwarranted disclosures. The VPPA
20   builds on the First Amendment by generally limiting the disclosure of people’s video viewing
21   habits to any third party. Absent this statutory protection, people would hesitate to view many
22   kinds of videos, whether the content is controversial or unpopular. These chilled viewers will be
23   diminished speakers, having less to say about the videos, the ideas they express, and the ideas they
24   inspire. Further, this chilling causes collateral harm to the video makers, who will have smaller
25   audiences: “[i]t would be a barren marketplace of ideas that had only sellers and no buyers.” Pico,
26   457 U.S. at 867 (quoting Lamont, 381 U.S. at 308 (Brennan, J., concurring)).
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     CASE NO. 3:22-CV-03131-JCS                          5              AMICUS BRIEF OF EFF, CDT, & ACLU
       Case 3:22-cv-03131-JCS Document 95-1 Filed 12/20/23 Page 12 of 19



 1          B.      The VPPA Protects Video Viewers’ Privacy Rights.

 2          The government has a substantial and compelling interest in promoting consumer data

 3   privacy in general and video viewing data privacy in particular.

 4                  1.      The Government’s Interest In Consumer Data Privacy Is Substantial
                            And Compelling.
 5
            Courts have consistently upheld laws protecting personal information because they advance
 6
     “substantial” interests in protecting privacy by limiting how that information can be collected,
 7
     used, and disclosed. See Trans Union Corp. v. FTC (Trans Union I), 245 F.3d 809, 819 (D.C. Cir.
 8
     2001) (consumer credit report); Individual Reference Servs. Grp., Inc. v. F.T.C., 145 F. Supp. 2d 6,
 9
     42 (D.D.C. 2001) (consumer financial account information); Trans Union LLC v. F.T.C. (Trans
10
     Union II), 295 F.3d 42, 53 (D.C. Cir. 2002) (credit report); Nat’l Cable & Telecommunications
11
     Ass’n v. F.C.C., 555 F.3d 996, 1001 (D.C. Cir. 2009) (phone call detail records); King v. Gen. Info.
12
     Servs., Inc., 903 F. Supp. 2d 303, 310 (E.D. Pa. 2012) (arrest records in credit reports); Boelter v.
13
     Hearst Inc. (Boelter I), 192 F. Supp. 3d 427, 450–51 (S.D.N.Y. 2016) (consumer preferences,
14
     curiosities, and interests); Boelter v. Advance Mag. Publishers Inc. (Boelter II), 210 F. Supp. 3d
15
     579, 599 (S.D.N.Y. 2016) (purchasing, rental, and borrowing history); ACLU v. Clearview AI, Inc.,
16
     No. 20 CH 4353, 2021 WL 4164452 (Ill. Cir. Ct. Aug. 27, 2021) (biometrics).
17
            Courts can uphold commercial speech regulations on matters of purely private concern
18
     when there is a “substantial” government interest, including promoting consumer data privacy like
19
     the VPPA. Central Hudson Gas & Elect. Corp. v. Public Serv. Comm’n of N. Y., 447 U.S. 557, 566
20
     (1980). Nonetheless, some courts have gone further, finding a “compelling” interest in consumer
21
     data privacy laws, especially when disclosure can cause reputational injury. See, e.g., King, 903 F.
22
     Supp. 2d at 310. The government’s compelling interest in protecting the privacy of video viewing
23
     is also bolstered by First Amendment values. See supra Part I.A.
24
                    2.      The Government’s Interest In Video Privacy Is Particularly Compelling
25                          Because The Data Is So Revealing.
26          Congress explained that video records are “a window into our loves, likes, and dislikes”
27   creating a “subtle and pervasive form of surveillance.” S. Report. 100-599, 100th Cong., 2d
28

     CASE NO. 3:22-CV-03131-JCS                         6               AMICUS BRIEF OF EFF, CDT, & ACLU
       Case 3:22-cv-03131-JCS Document 95-1 Filed 12/20/23 Page 13 of 19



 1   Session 7 (Oct. 21, 1988). As the ACLU testified to Congress in support of the VPPA, “[t]he
 2   movies we view in the privacy of our home may reveal a great deal about our politics and
 3   personalities, the most personal, sensitive aspects of ourselves that we may choose to express
 4   outside the scope of the public’s gaze.” 4 And every disclosure creates inherent risk of redisclosure. 5
 5          Like cellphone contents and location records, video viewing data can reveal the “privacies
 6   of life.” Riley v. California, 573 U.S. 373, 403 (2014); Carpenter v. United States, 138 S. Ct. 2206,
 7   2217 (2018). This is partly because the records can be so comprehensive. 6 For example, searching
 8   through a person’s YouTube viewing history—which can total tens of thousands of videos—is like
 9   “going through someone’s diary.”7 Video records can be so revealing that individuals can be re-
10   identified based on seemingly “anonymous” data about their watch history and ratings.8
11          Using this data, companies may attempt to draw sensitive, potentially incorrect, and
12   harmful inferences about, for example, a person’s race, politics, religious views, or attitudes
13   towards gay people. Id. at 1722. Even titles and genres can be revealing. Netflix, for example, has
14   nearly 4,000 ways to categorize its content—including genres like “Chinese Gay & Lesbian
15   Movies,” “Jewish Dramas,” and “African-American Political Movies.”9 The same hazards arise
16
     4 Testimony, Janlori Goldman on behalf of the ACLU, Joint Hearing on the Video and Library
17
     Privacy Protection Act of 1988 (Aug. 3, 1988).
18   5 Privacy Rights Clearinghouse, Data Breach Chronology, https://privacyrights.org/data-breaches

19   (last visited Dec. 18, 2023) (listing more than 20,000 U.S. data breaches).
     6 Bureau of Labor Statistics, Television, capturing America’s attention and prime time and beyond
20   (Sept. 2018), https://www.bls.gov/opub/btn/volume-7/television-capturing-americas-attention.htm
     (noting that U.S. civilians spend 2 hours and 46 per day watching TV).
21
     7 Kevin Roose, RabbitHole, Episode Two: Looking Down, Transcript, The New York Times (Apr.

22   23, 2020), https://www.nytimes.com/2020/04/23/podcasts/rabbit-hole-internet-youtube-
     virus.html?showTranscript=1.
23   8 Arvind Narayanan & Vitaly Shmatikov, Robust De-Anonymization of Large Sparse Datasets, in

24   Proc. of the 2008 Ieee Symp. on Security and Privacy (demonstrating how to de-anonymize movie
     ratings in Netflix data), https://www.cs.utexas.edu/~shmat/shmat_oak08netflix.pdf; Paul Ohm,
25   Broken Promise of Privacy: Responding to the surprising failure of anonymization, 57 UCLA L.
     Rev. 1701, 1720 (2010), https://www.uclalawreview.org/pdf/57-6-3.pdf.
26
     9 Kasey Moore, Netflix Codes 2023: Every Movie and Series Category on Netflix, What’s on

27   Netflix (Jan. 17, 2023), https://www.whats-on-netflix.com/news/the-netflix-id-bible-every-
     category-on-netflix/.
28

     CASE NO. 3:22-CV-03131-JCS                          7              AMICUS BRIEF OF EFF, CDT, & ACLU
       Case 3:22-cv-03131-JCS Document 95-1 Filed 12/20/23 Page 14 of 19



 1   when companies seek to infer viewers’ sexual orientation based on viewing sexual videos.10
 2          C.      Privacy And Speech Interests Have Special Significance When They Protect
                    Against Disclosure To The Government.
 3

 4          Consumers’ right to privacy and expression in the videos they search for and watch is even

 5   more compelling when they guard against law enforcement and other government entities’

 6   surveillance. See Stanley, 394 U.S. at 565; Zurcher, 436 U.S. at 564–65; Rumely, 345 U.S. at 57

 7   (Douglas, concurring). The VPPA recognizes these constitutional values and operationalizes them

 8   in statutory law. See 18 U.S.C. § 2710(b)(2)(C) & (b)(2)(F) & (b)(3).

 9          Like with the First Amendment, the VPPA requires the government to overcome special

10   burdens to compel a company to hand over records of a consumer’s expressive material—

11   signifying their importance. See, e.g., In re Grand Jury Investigation of Possible Violation of 18

12   U.S.C. § 1461 et seq., 706 F. Supp. 2d 11, 18 (D.D.C. 2009) (requiring “compelling interest” and

13   “sufficient nexus”). In some cases, the protections of the First Amendment and VPPA overlap. See

14   Amazon.com LLC v. Lay, 758 F. Supp. 2d 1154, 1169 (W.D. Wash. 2010) (invalidating broad

15   subpoena for purchase details on books, music, and audiovisual material on both grounds).
     II.    The VPPA’s Plainly Legitimate Sweep Renders Facial Invalidation Inappropriate.
16

17          The Court should not facially invalidate the VPPA because, even if “at its margins [the

18   statute] infringes on protected expression,” it “covers a whole range of easily identifiable and

19   constitutionally proscribable conduct.” Osborne v. Ohio, 495 U.S. 103, 112 (1990) (cleaned up).

20          The VPPA’s purpose, application, and enforcement is overwhelmingly focused on

21   regulating the disclosure of a person’s video viewing history in the course of a commercial

22   transaction between the provider and user. Thus the VPPA concerns “expression related solely to

23   the economic interests of the speaker and its audience,” which is “commercial speech” that receives

24   “lesser protection” compared to “other constitutionally guaranteed expression.” Central Hudson,

25   447 U.S. at 561, 563. Moreover, “speech solely in the individual interest of the speaker and its

26
27   10 Report: Data Breach in Adult Site Compromises Privacy of All Users, VPNMentor (updated July

     17, 2023), https://www.vpnmentor.com/blog/report-luscious-data-breach/.
28

     CASE NO. 3:22-CV-03131-JCS                         8              AMICUS BRIEF OF EFF, CDT, & ACLU
       Case 3:22-cv-03131-JCS Document 95-1 Filed 12/20/23 Page 15 of 19



 1   specific business audience” that concerns “no public issue” warrants “reduced constitutional
 2   protection.” Dun & Bradstreet, Inc. v. Greenmoss Builders, Inc., 472 U.S. 749, 762 & n.8 (1985).
 3          As further discussed below, the VPPA applies only to businesses that are uniquely
 4   positioned to violate their users’ privacy because of their business relationship with them. The
 5   statute is thus subject to, and passes, intermediate scrutiny. As this Court already determined, “the
 6   VPPA would not be invalid if it only regulated [commercial] speech like Patreon’s alleged
 7   disclosures to Meta.” Stark, 656 F. Supp. 3d at 1037. In this overbreadth challenge, the Court
 8   should ask whether the rare instances in which providers have a First Amendment defense for their
 9   disclosure nonetheless require the strong medicine of facial invalidation. It does not. As explained
10   below, infra Part III, even if providers have First Amendment defenses to VPPA claims involving
11   disclosures on a matter of public concern, those can be addressed in as-applied challenges.
12          A.      The Language And Scope Of The VPPA Reflect The Law’s Focus On
                    Regulating Commercial Activity.
13

14          The VPPA applies only to “video tape service providers,” which includes those “engaged in

15   the business” of rental, sale, or delivery. 18 U.S.C. § 2710 (a)(4). It similarly defines a protected

16   “consumer” as a renter, purchaser, or subscriber of “goods or services” from a provider. Id. at

17   (a)(1). Information may be shared if it is disclosed in the “ordinary course of business” of operating

18   a video tape service provider. Id. at (b)(2)(E).

19          Moreover, the VPPA contains numerous statutory exceptions that limit its applicability and

20   further narrow the universe of any possible unconstitutional applications. For one, the VPPA

21   allows disclosure to law enforcement under proper legal process. 18 U.S.C. § 2710 (b)(2)(C). It

22   similarly permits disclosure in civil proceedings pursuant to a court order if notice is given to the

23   consumer. Id. at (b)(2)(F). These exceptions protect the government’s interest in enforcing the law,

24   private parties’ interests in disclosing information in certain circumstances, and video viewers’

25   compelling privacy and speech interests. See supra Part I.

26          Furthermore, the VPPA allows disclosure when a provider obtains written consent from the

27   consumer—a light burden that is typically obtained following a commercial transaction for video

28

     CASE NO. 3:22-CV-03131-JCS                          9              AMICUS BRIEF OF EFF, CDT, & ACLU
       Case 3:22-cv-03131-JCS Document 95-1 Filed 12/20/23 Page 16 of 19



 1   services. 18 U.S.C. § 2710 (b)(2)(B). Ensuring that consent is authentic through writing is not
 2   overly restrictive. See In re Clearview AI, Inc., Consumer Priv. Litig., 585 F. Supp. 3d 1111, 1121
 3   (N.D. Ill. 2022) (written consent in biometric law); Turizo v. Subway Franchisee Advert. Fund Tr.
 4   Ltd., 603 F. Supp. 3d 1334, 1349 (S.D. Fla. 2022) (written consent in telemarketing law).
 5          B.      The Vast Majority Of VPPA Applications Fit Squarely Within The Scope Of
                    Constitutional Privacy Laws.
 6

 7          The vast majority of potential disclosures prohibited by the VPPA concern commercial

 8   exploitation of private citizens’ video viewing habits that have no public significance. Such

 9   consumer data privacy laws routinely survive First Amendment challenges. See supra Part I.B.1.

10          Other areas of law contain analogous protections for private information, such as the

11   common law privacy torts that limit the collection of truthful private information (intrusion on

12   seclusion) and limit its publication (public disclosure of private facts). See Second Restatement of

13   Torts §§ 652B, 652D. “[W]here matters of purely private significance are at issue, First

14   Amendment protections are often less rigorous.” Snyder v. Phelps, 526 U.S. 443, 452 (2011). See,

15   e.g., Dun & Bradstreet, 472 U.S. at 757 (defamation); Snyder, 562 U.S. at 459 (intentional

16   infliction of emotional distress). Privacy torts do not offend the First Amendment if they do not

17   restrict important discussion of matters of public concern. See, e.g., Judge v. Saltz Plastic Surgery,

18   P.C., 367 P.3d 1006, 1011 & n.4 (Utah 2016); Shulman v. Group W Productions, Inc., 18 Cal.4th

19   200, 214–16 (Cal. 1998); Coplin v. Fairfield Pub. Access Television Comm., 111 F.3d 1395, 1404

20   (8th Cir. 1997); Reuber v. Food Chem. News, Inc., 925 F.2d 703, 719 (4th Cir. 1991).

21          Further, a consumer privacy law regulating commercial activity is not invalid merely

22   because it makes content-based distinctions: “This is not to say that all privacy measures must

23   avoid content-based rules.” Sorrell v. IMS Health Inc., 564 U.S. 552, 574 (2011). Coherent privacy

24   legislation like the VPPA is necessary because “[t]he capacity of technology to find and publish

25   personal information . . . presents serious and unresolved issues with respect to personal privacy

26   and the dignity it seeks to secure.” Id. at 579.

27          The VPPA falls within this set of constitutional privacy laws. The video-viewing behavior

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     CASE NO. 3:22-CV-03131-JCS                         10             AMICUS BRIEF OF EFF, CDT, & ACLU
       Case 3:22-cv-03131-JCS Document 95-1 Filed 12/20/23 Page 17 of 19



 1   of millions of individual consumers is not a matter of public concern and is only made available to
 2   the service providers through their commercial relationship with the viewer. Online video service
 3   providers, like Patreon, harvest user data to sell or target ads for their own commercial interests.
 4   The overwhelming majority of tracked and targeted consumers will not engage in matters of public
 5   concern in relation to their video-viewing behavior. Many businesses that collect this information
 6   do not distribute it, and those that do typically distribute it only to a select set of paying clients for
 7   their commercial interests.
 8   III.    Any Unconstitutional VPPA Applications Are Best Addressed As Applied.
 9           To the extent video providers like Patreon wish to assert a First Amendment right to
10   disclose people’s viewing habits in circumstances that arguably conflict with the VPPA, they
11   should proceed on a case-by-case basis.11 Courts have long recognized that privacy statutes and
12   common law torts can sometimes conflict with a speaker’s First Amendment rights. In those cases,
13   courts seek to protect the First Amendment interests at stake while continuing to allow application
14   of those privacy laws in the ordinary course. This approach accommodates the broad and legitimate
15   sweep of those privacy protections while vindicating speakers’ First Amendment rights. The same
16   analysis should be applied to the VPPA.
17           For example, Bartnicki concerned a civil suit under the federal Wiretap Act alleging that
18   defendants including news media disclosed private communications, illegally intercepted by an
19   unknown third party, that concerned a public issue. 537 U.S. at 517–18.12 Defendants argued that
20   the First Amendment protected the disclosure because it was on a matter of public concern. Id. at
21
     11 The Court should expect these applications to be rare. It would be an odd business model for a
22
     company to promise its users privacy protection, except on matters of public concern. See
23   Testimony, Vans Stevenson, Video Software Dealers’ Association, Joint Hearing on the Video and
     Library Privacy Protection Act of 1988 (Aug. 3, 1988) (describing corporate policy that “rental and
24   sales records are privileged matters between the retailer and the customer”).
     12 The VPPA applies to an even smaller set of entities than the disclosure prohibition in the
25
     Wiretap Act at issue in Bartnicki. Unlike the Wiretap Act, the VPPA’s disclosure prohibition does
26   not sweep up third parties (outside of those identified in 18 U.S.C. § 2710(b)(2)(D)) such as the
     news media. Thus the VPPA applies to a far narrower set of circumstances in which a provider
27   itself discloses users’ viewing habits in violation of the VPPA.
28

     CASE NO. 3:22-CV-03131-JCS                           11              AMICUS BRIEF OF EFF, CDT, & ACLU
       Case 3:22-cv-03131-JCS Document 95-1 Filed 12/20/23 Page 18 of 19



 1   520–21. The Supreme Court characterized the privacy and free expression issues presented as “a
 2   conflict between the interests of the highest order,” id. at 518, and its holding was narrow: “In these
 3   cases, privacy concerns give way when balanced against the interest in publishing matters of public
 4   importance.” Id. at 534. The application of the Wiretap Act in Bartnicki implicated the core
 5   purposes of the First Amendment because it limited the disclosure of truthful information on a
 6   matter of public concern. Id. at 533–34. The Court also indicated that in most other scenarios that
 7   did not concern disclosures on a matter of public concern, the Wiretap Act could likely be enforced
 8   without offending the First Amendment. See id.
 9           The disclosure of private facts tort contains a similar principle. In Shulman, the California
10   Supreme Court vindicated the First Amendment interests of a television show that gathered and
11   published details of emergency aid provided to the plaintiffs after their car crashed. 18 Cal.4th at
12   209–10. The court explained that the lack of “newsworthiness” was an element of the private facts
13   tort, and “a constitutional defense to, or privilege against, liability for publication of truthful
14   information.” Id. at 216. The state high court once more confirmed that the same constitutional
15   privilege immunizes speakers from tort claims based on the disclosure of truthful information on a
16   matter of public concern. See Gates v. Discovery Communications, Inc., 34 Cal.4th 679, 675 (Cal.
17   2004). Outside of that context, however, the tort remains a valid cause of action.
18           Bartnicki, Shulman, and Gates reinforce that when privacy protections come into conflict
19   with First Amendment rights, privacy rights may yield when the speech is truthful and on a matter
20   of public concern. See also Smith v. Daily Mail Publishing Co., 443 U.S. 97, 104 (1979). The cases
21   proceed on an as-applied basis, while leaving in place the legitimate sweep of the privacy laws and
22   torts. This Court should follow the same path here: an as-applied challenge will best harmonize the
23   speech and privacy interests of everyone, including millions of people who watch videos online.
24                                               CONCLUSION
25           For the foregoing reasons, the Court should rule that the Video Privacy Protection Act is
26   not substantially overbroad and subject to facial invalidation.
27

28

     CASE NO. 3:22-CV-03131-JCS                           12              AMICUS BRIEF OF EFF, CDT, & ACLU
      Case 3:22-cv-03131-JCS Document 95-1 Filed 12/20/23 Page 19 of 19


     Dated: December 20, 2023               Respectfully submitted,
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     CASE NO. 3:22-CV-03131-JCS            13            AMICUS BRIEF OF EFF, CDT, & ACLU
